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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION                          2i2DE-5       P1112:22
                                                                           WESIE    DISTCT      OF   TEXS
UNITED STATES OF AMERICA,                                        CRIM. NO.    US. CLERi<S OFFICE


          Plaintiff,                                             SUPERSEINTNDTCTMET

 V.                                                              [SEALED]

CELSO PEREZ-MARTINEZ (1)                                        CT 1: 21:846 & 841(a)(1)-
                                                                Conspiracy to Possess a Controlled
                                                                Substance with Intent to Distribute
         Defendants.                                            (Marijuana);
                                                                CT 2: 21:952 & 960(a)(1)-
                                                                Conspiracy to Import with Intent to
                                                                Distribute a Controlled Substance
                                                                (Marijuana);
                                                                CT 3: 21: 959(a)- Unlawful
                                                                Distribution of a Controlled
                                                                Substance Extra-territorial;
                                                                CT4: 21:861(a)(2); 18:2-
                                                                Employment of Person Under 18
                                                                years of Age in Drug Operations;
                                                                Aiding & Abetting
                                                                CT 5: 18:924(o)- Conspiracy to
                                                                Possess Firearms in Furtherance of
                                                                Drug Trafficking;
                                                                                                    c*rtify
                                                                  A true copy of ths QtiIø*I,   I



                                                                        CIrk, U.S   Dist
THE GRAND JURY CHARGES:

                                           COUNT ONE                y
                                     [21   U.S.C. § 841, 846]

       Beginning on or about June   1,   2005 and continuing until on or about August 1, 2012 in

the Western District of Texas, the Northern District of Texas, the Republic of Mexico, and

elsewhere, the Defendants,

                              CELSO PEREZ-MARTINEZ (fl



did combine, conspire, confederate and agree together and with each other and others known and
            Case 2:12-cr-01428-AM Document 42 Filed 12/05/12 Page 2 of 5




unknown to the Grand Jury to possess with intent to distribute and distribute a controlled

substance, which offense involved one thousand kilograms or more of a mixture and substance

containing a detectable amount of marijuana, a Schedule I Controlled Substance, contrary to

Title 21, United States Code, Section 841(a)(l) and 841 (b)(l)(A)(vii), in violation of Title 21,

United States Code, Section 846.

                                             COUNT TWO
                     (21 U.S.C.    § 952(a), 960(a)(i), 960(b)(1)(G)       & 963)
       That beginning on or about June      1,   2005 and continuing until on or about August 1, 2012,

in the Western District of Texas, Defendants,

                               CELSO PEREZ-MARTINEZ (1)


knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed

together, and with each other, and with others to the Grand Jury unknown, to commit offenses

against the United States, in violation of Title 21, United States Code, Section     963,   that is to say,

they conspired to import a controlled substance, which offense involved one thousand kilograms

or thore of a mixture and substance containing a detectable amount of marijuana, a Schedule I

Controlled Substance, into the United States from Mexico contrary to Title 21, United States

Code, Sections 952(a), 960(a)(l) and 960(b)(1)(G).


                                           COUNT THREE
                      (21 U.S.C.   §     959(a), 963, 960(a)(3)   and   (b)(1)(G))


       That beginning on or June    1,   2005 and continuing until on or about August 1, 2012, in the

Republic of Mexico and elsewhere, Defendants,

                               CELSO PEREZ-MARTINEZ (1)


knowingly, intentionally,    and unlawfully conspired, combined, confederated, and agreed
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together, and with each other, and with others to the Grand Jury unknown, to commit offenses

against the United States, in violation of Title 21, United States Code, Section 963, that is to say,

they conspired to distribute 1000 kilograms or more of a mixture or substance containing a

detectable amount of marijuana, a Schedule I Controlled Substance, intending and knowing that

said controlled substance would be unlawfully imported into the United States, in violation of

Title 21, United States Code, Sections 959(a), 963, and 960(a)(3) and (b)(1)(G).

                                            COUTJT FOUR
                          (21 U.S.C.   §   861(a)(1) and (b); 18 U.S.C.   §   2)

       That beginning on or about June 1, 2005 and continuing until on or about August 1, 2012,

in the Western District of Texas, Defendants,

                               CELSO PEREZ-MARTINEZ (1)


being persons at least eighteen (18) years of age, did knowingly and intentionally employ, hire,

use, persuade, induce, entice, and coerce a person under eighteen (18) years of age, to violate

Title 21, United States Code, Sections 841(a)(1), 846, 952(a), 960(a)(1), 959, and 963, and did

aid and abet the same, in violation of Title 21, United States Code, Section 861(a)(1) and (b) and

18 U.S.C. § 2.

                                        COUNT FIVE
                                (18 U.S.C. § 924(c)(1) and (o))

       Beginning on or about January 1, 2008, and continuing through and including August         1,


2012, in the Western District of Texas, Defendants,

                               CELSO PEREZ-MARTINEZ (1)


knowingly combined, conspired, confederated, and agreed with each other and others known and

unknown to the Grand Jury to commit offenses against the United States, that is, the
           Case 2:12-cr-01428-AM Document 42 Filed 12/05/12 Page 4 of 5



DEFENDANTS conspired to possess firearms in furtherance of the drug trafficking crimes

charged in Counts One, Two, Three and Four of this Indictment, re-alleged herein, contrary to

Title 18, United States Code, Sections 924(c)(l) and (o).


                                             A TRUE BILL.




                                             FOREPERSON OF THE GRAND JURY


ROBERT PITMAN
UNITES STATES ATTORNEY


RUSSELL D. LEACHMAN
Assistant United States Attorney
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SEALED: XX                                               INTERNAL FILE USE ONLY
UNSEALED:
                              PERSONAL DATA SHEET
                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                DEL RIO DIVISION

COUNTY: Maverick            USAO #: 2008R25614            CASE# /JUDGE: DR-12-CR-.1428

DATE: December 5, 2012      MAG. CT. #:                   FBI#

AUSA: RUSSELL D. LEACHMAN
DEFENDANT: CELSO PEREZ-MARTINEZ (1)               DATE OF BIRTH: October 13, 1971

ADDRESS:
CITIZENSHIP:
INTERPRETER NEEDED:____ Language:
DEFENSE ATTORNEY:
ADDRESS OF ATTORNEY:
DEFENDANT IS:                       DATE OF ARREST:

BENCH WARRANT NEEDED: YES
PROBATION OFFICER:_______              NAME AND ADDRESS OF SURETY:

YOUTH CORRECTIONS ACT APPLICABLE: NO
PROSECUTION BY: SUPERSEDING INDICTMENT.
OFFENSE: (Code & Description): COUNT 1: 21 U.S.C.           846, 841(a)ul) & 841(b)(l)(A)(viii)
                                                                                      than 1000
-    Conspiracy to Possess with Intent to Distribute a Controlled Substance (more
Kilograms of Marijuana). COUNT 2: 21 U.S.C.           952(a). 960(a)(1), 960(b)(1)(G) & 963
Conspiracy to Import a Controlled Substance (more than 1000 Kilograms
                                                                                 of Marijuana).
COUNT 3: 21 U.S.C.         959(a), 963, 960(a)(3) and (b)(1)(G) Extraterritorial Possession,
                                                                                   4: 21 U.S.C.
Manufacture, or Distribution of Marijuana (more than 1000 Kilograms). COUNT
                                                                         years  of Age   in Drug
    861(a)(1) & (b) & 18 U.S.C. 2: Employment of Person Under
                                                                      18
                                                                                    5: 18 U.S.C.
Operations (more than 1000 Kilograms Marijuana) Aiding and Abetting. COUNT
 § 924(c)(1)&(o) Conspiracy
                             to Possess Firearms in Furtherance of Drug  Trafficking.

OFFENSE IS: FELONY.
                                                                                to exceed $10
MAXIMUM SENTENCE: Cts. 1 - 4: 10 years - life imprisonment: a fine not
                                                                      mandatory $100 special
million; a 5 year mandatory minimum term of supervised release; and a
                                                                                 not to exceed
assessment, as to each count. Ct. 5 - Not more than 20 years imprisonment; fine
                                                                     mandatory $100 special
$250,000; a minimum of 10 years of supervised release; and a
assessment.
PENALTY IS MANDATORY:                REMARKS: See above. W/DT-CR-3
